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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                         CIVIL ACTION

VERSUS                                                        NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                      SECTION: “I”(5)



                      ORDER SCHEDULING STATUS CONFERENCE

       A status conference via telephone in the above matter is hereby SCHEDULED for

November 23, 2020 at 11:00 a.m. The Court will provide counsel with instructions that will

enable them to participate in the conference.

       New Orleans, Louisiana, this 16th day of      November        , 2020.




                                                       MICHAEL B. NORTH
                                                  UNITED STATES MAGISTRATE JUDGE
